UNITED STATES DISTRICT COURT
EASTERN DISTRICT OF NEW YORK
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JANINE CARBONE, on behalf of plaintiff and :
a class,
                                           :
                   Plaintiff,                            INDEX NO. 15-cv-5190
                                           :             NOTICE OF MOTION TO DISMISS
         -against-
                                                         PLAINTIFF’S CLASS ACTION
                                           :             COMPLAINT
CALIBER HOME LOANS, INC.;
                                                  :      ORAL ARGUMENT REQUESTED
                   Defendants.
                                                  :

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            To:   All Attorneys of Record

               PLEASE TAKE NOTICE that pursuant to Federal Rule of Civil Procedure

12(b)(6) and upon the accompanying memorandum of law, Defendant Caliber Home Loans, Inc.

will move this Court, before Hon. Joanna Seybert, U.S.D.J., at the courthouse, 100 Federal Plaza,

Central Islip, NY 11722, for an order dismissing the Complaint in this case for failure to state a

claim upon which relief can be granted.

Dated: New York, New York.                            Respectfully submitted,
       October 12, 2015
                                                      PERKINS COIE LLP



                                                      By: /s/ Manny J. Caixeiro
                                                         Manny J. Caixeiro, Bar No. 4216230
                                                         30 Rockefeller Center, 22th Floor
                                                         New York, NY 10112-0085
                                                         212.262.6900


                                                         David T. Biderman, CA Bar. No. 101577
                                                         Perkins Coie LLP
                                                         505 Howard Street, Suite 1000
                                                         San Francisco, CA 94105-3204
                                                         415.344.7000
Frederick B. Rivera, WSBA #23008
Perkins Coie LLP
1201 Third Avenue, Suite 4900
Seattle, WA 98101-3099
206.359.8000

Attorneys for Defendant Caliber Home
Loans, Inc.
